                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                  Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                    Defendant.


               DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION
                    OF TIME TO SEEK BILL OF PARTICULARS

        Under Federal Rule of Criminal Procedure 7(f), a defendant “may move for a bill of

particulars before or within 14 days after arraignment or at a later time if the court permits.”

Defendant Gregory Craig was arraigned on April 12, 2019, so any motion for a bill of particulars

would be due on April 26, 2019, absent permission from the Court to file such a motion on a

later date.

        Mr. Craig respectfully seeks the Court’s permission to file any request for a bill of

particulars on or before May 10, 2019, which is the due date for motions to dismiss under

Federal Rule of Criminal Procedure 12(b)(3)(A) and (B). See Scheduling Order, ECF No. 11.

Counsel have conferred and the government does not oppose this motion.
Dated: April 23, 2019   Respectfully submitted,


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                        Attorneys for Defendant Gregory B. Craig
                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on April 23, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                                /s/ Ezra B. Marcus
                                                Ezra B. Marcus
